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                                                                       December 28, 2023

VIA EMAIL 1

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, NY 10007
Furman_NYSDChambers@nysd.uscourts.gov


       Re:     United States v. Michael Cohen, 18 Cr. 602 (JMF)

Dear Judge Furman:

        Pursuant to the Court’s December 18, 2023 Order (ECF No. 97), I write to address the
substance of David Schwartz’s response to the Order to Show Cause (“Mr. Schwartz’s
submission”) and the privilege and sealing issues it raises. As the Court is aware, I represent
Michael Cohen with respect to his reply letter in support of his motion for early termination of
supervised release (ECF No. 95), and now also with respect to the Court’s inquiry into the non-
existent cases cited in Mr. Schwartz’s initial motion (ECF No. 88).

        Mr. Schwartz’s recollection of the events is largely consistent with Mr. Cohen’s. While
this response provides a few clarifications, we believe the Court could well find them to be
immaterial. To summarize: Mr. Cohen provided Mr. Schwartz with citations (and case summaries)
he had found online and believed to be real. Mr. Schwartz added them to the motion but failed to
check those citations or summaries. As a result, Mr. Schwartz mistakenly filed a motion with three
citations that—unbeknownst to either Mr. Schwartz or Mr. Cohen at the time—referred to non-
existent cases. Upon later appearing in the case and reviewing the previously-filed motion, I
discovered the problem and, in Mr. Cohen’s reply letter supporting that motion, I alerted the Court
to likely issues with Mr. Schwartz’s citations and provided (real) replacement citations supporting
the very same proposition. ECF No. 95 at 3. To be clear, Mr. Cohen did not know that the cases
he identified were not real and, unlike his attorney, had no obligation to confirm as much. While
there has been no implication to the contrary, it must be emphasized that Mr. Cohen did not engage
in any misconduct.

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 As explained herein, Mr. Cohen does not oppose the unsealing of Mr. Schwartz’s December 15
submission and is prepared to file this submission on the public docket (with only the personal
contact information in Mr. Cohen’s Exhibits 1 and 2 and Mr. Schwartz’s Exhibit E redacted).
However, because this letter and the accompanying declaration quote Mr. Schwartz’s
submission—which is currently under seal—we are initially providing this submission to the Court
by email only out of an abundance of caution to not disclose currently-sealed content on the public
docket.

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         The privilege and sealing questions are also straightforward. Mr. Schwartz’s submission
does reveal Mr. Cohen’s privileged information, but Mr. Cohen is willing to waive privilege over
the limited specific disclosures in Mr. Schwartz’s December 15 submission so that Mr. Schwartz
may provide what he clearly believes to be mitigating information to the Court and public. As
such, in the interest of transparency—especially in light of the extensive press coverage
surrounding the initial order to show cause—Mr. Cohen does not oppose the filing of Mr.
Schwartz’s December 15 submission and of this submission on the public docket (with only the
personal contact information in Mr. Cohen’s Exhibits 1 and 2 and Mr. Schwartz’s Exhibit E
redacted). 2 In addition to potentially mitigating Mr. Schwartz’s conduct, publicly disclosing the
full story clearly establishes Mr. Cohen’s lack of wrongdoing.

        Above all, as Mr. Schwartz’s submission already made clear, no one intended to mislead
the Court. Certainly Mr. Cohen should not be held to account for his attorney’s failure to verify
the citations in his motion. Accordingly, we respectfully request that Mr. Schwartz’s lapse in filing
a motion with invalid citations not be held against Mr. Cohen, and that, for the reasons detailed in
our reply letter (ECF No. 95), Mr. Cohen’s meritorious motion for termination of supervised
release be granted.

    I.     The Substance of Mr. Schwartz’s Submission

        As explained in Mr. Schwartz’s submission and in Mr. Cohen’s enclosed declaration, this
is a simple story of a client making a well-intentioned but poorly-informed suggestion; trusting—
as he was entitled to do—that his attorney would vet that suggestion before incorporating it; and
his attorney’s mistaken failure to do so. Additional—likely inconsequential—clarifications to Mr.
Schwartz’s description are provided below and in Mr. Cohen’s declaration in response to the
Court’s order.


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   Mr. Cohen understands that unsealing these submissions will allow currently-privileged
information to become publicly available. Cohen Decl. ¶ 3. In acceding to the unsealing, however,
he is not waiving privilege over any other communications or information beyond that which is
explicitly and directly disclosed in the two submissions. Accordingly, all of Mr. Cohen’s
communications with my firm—other than the single email conveying my topline comments
provided as Exhibit 1 to this submission to contextualize information already disclosed by
Mr. Schwartz—or any other attorney remain privileged, including communications about the
preparation of this submission, the reply letter supporting Mr. Schwartz’s supervised release
termination motion, and all other matters. See In re Von Bulow, 828 F.2d 94, 102 (2d Cir. 1987).

In disclosing a few additional privileged details herein, Mr. Cohen is not putting that privileged
information at issue or otherwise waiving privilege over any discrete subject matters; he is instead
merely responding to Mr. Schwartz’s disclosures to ensure the Court has a fully contextualized
record from which to conduct its analysis. For the avoidance of doubt, Mr. Cohen intends to
continue protecting his privilege over all privileged communications not explicitly and directly
disclosed in Mr. Schwartz’s December 15 submission and this response to it, and he does not
consent to disclosure or dissemination of any of those communications.


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    A. What Happened

        Looking to assist his attorney, Mr. Cohen conducted open-source research for cases that
reflected what he anecdotally knew to be true. 3 Specifically, he sought case law to illustrate that
terminating his supervised release under these circumstances would be in line with how other
courts have handled similar requests. Cohen Decl. ¶ 16. Unfortunately, the citations that Mr. Cohen
found online refer to non-existent cases, and Mr. Schwartz submitted them, unchecked. Schwartz
Decl. ¶¶ 21–22. However, it is worth noting that the underlying point indeed is not controversial—
and has since been confirmed by the real cases and the study cited in the reply letter we filed on
Mr. Cohen’s behalf. ECF No. 95 at 3, n.5.

        The invalid citations at issue—and many others that Mr. Cohen found but were not used in
the motion—were produced by Google Bard, which Mr. Cohen misunderstood to be a super-
charged search engine, not a generative AI service like Chat-GPT. Cohen Decl. ¶ 20. Mr. Cohen
had used Google Bard to successfully identify accurate information in other contexts before and
did not appreciate its unreliability as a tool for legal research. Id. Like most lay clients, Mr. Cohen
does not have access to Westlaw or other standard legal research tools to verify any citations he
finds online. Id. Instead, he trusted his attorney to verify them on his behalf. Id.

         Mr. Cohen is not a practicing attorney and has no concept of the risks of using AI services
for legal research (Cohen Decl. ¶ 20)—nor does he have an ethical obligation to verify the accuracy
of his research. Mr. Schwartz, conversely, did have an obligation to verify the legal representations
being made in a motion he filed. See Fed. R. Civ. P. 11; Rules of Professional Conduct (22 NYCRR
1200.0) Rule 1.1. Unfortunately, Mr. Schwartz did not fulfill that obligation—as he was quick to
admit, to his credit. Schwartz Decl. ¶¶ 21–22.

       Mr. Cohen sent Mr. Schwartz and his paralegal the citations and summaries on November
25. Cohen Decl. ¶ 15; Schwartz Ex. E. Mr. Schwartz and his team then added the citations and
descriptions to the motion, went through several additional rounds of revisions (in which
Mr. Schwartz was actively involved), and then filed the motion at Mr. Schwartz’s direction. See
Cohen Decl. ¶ 21. As Mr. Cohen’s attorney and fiduciary, Mr. Schwartz had final sign-off on the
submission and its content. Cohen Decl. ¶ 11. Unbeknownst to Mr. Cohen, Mr. Schwartz signed
off on the motion without having ever checked the citations it contained. Cohen Decl. ¶ 22;
Schwartz Decl. ¶¶ 21–22. In summary, Mr. Schwartz’s inclusion of the invalid citations was a
mistake driven by sloppiness, not malicious intent.

        I appeared in this matter only after Mr. Schwartz had filed the November 29 motion—and
after the government had opposed that motion. As I explained when seeking leave to reply to the
government’s opposition letter on Mr. Cohen’s behalf (on the day I first appeared in this case), the
government’s letter had distorted and mischaracterized Mr. Cohen’s testimony in People v. Trump,


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  For example, Mr. Cohen sent Mr. Schwartz a real example of a court terminating the supervised
release of someone Mr. Cohen knew—which Mr. Schwartz did not include in the brief. Ex. 2 (June
3, 2023 email attaching supervised release request). As Mr. Cohen told Mr. Schwartz, the
termination request he attached was granted. U.S. v. Robert Morrison, 1:07-cr-00003-LAP, ECF
No. 967 (S.D.N.Y. Apr. 18, 2023) (terminating supervised release effective immediately).


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Index No. 452564/2022 (Sup. Ct. N.Y. County)—a case in which I had represented Mr. Cohen.
ECF No. 92 at 1. Initially, the reply letter aimed to “correct the record and provide the Court with
accurate and additional information relevant to its consideration of Mr. Cohen’s motion.” Id.

        In preparing that reply motion, however, I encountered (for the first time) the citations now
at issue, which immediately struck me as being facially flawed. 4 Although the government’s
opposition had made no mention of invalid citations, my team and I then tried to locate the cases
Mr. Schwartz had cited, searching on Westlaw, PACER, the Second Circuit’s database of its
decisions, and Google. When we were unable to verify the cases, we notified the Court of that fact
(ECF No. 95 at 3 n.6) and instead cited different—real—cases that stood for the same proposition
Mr. Schwartz had emphasized for the Court on Mr. Cohen’s behalf: “[N]umerous courts in this
District have granted early termination of supervised release in circumstances similar to Mr.
Cohen’s.” ECF No. 95 at 3.

    B. What Did Not Happen

        Mr. Schwartz does not claim that Mr. Cohen told him that I provided the citations at issue.
Instead, he recalls that, on some unspecified date, Mr. Cohen “communicated to [him]” that some
unspecified cases “would be provided by Ms. Perry.” Schwartz Decl. ¶ 9. Needless to say, I did
not provide Mr. Cohen with any citations at all (nor does Mr. Schwartz in any way imply that I in
fact did provide the citations in question). Moreover, though perhaps inconsequentially, Mr.
Cohen’s recollection differs from Mr. Schwartz’s, and he is certain that he did not tell Mr.
Schwartz that I would provide or had provided cases of any sort. Cohen Decl. ¶ 5–6.

        As explained in Mr. Cohen’s declaration, my sole involvement with the November 29
motion was giving Mr. Cohen very cursory notes on an early draft of the motion—weeks before
the relevant citations were added. Cohen Decl. ¶ 12. I was never co-counsel to Mr. Schwartz and
I was clear with Mr. Cohen about the limited extent of my involvement, telling him “I just made a
few rather obvious observations – your lawyer (or you) need to freshen it up.” See id.; Ex. 1 (Nov.
12, 2023 email sending marginal feedback to Mr. Cohen specifically for his and his attorney’s
implementation as they saw fit). Likewise, when Mr. Cohen passed my notes to Mr. Schwartz, he
specified that the notes came from me (and they were identified as such in the Word document as
well); conversely, when Mr. Cohen later sent Mr. Schwartz the case citations, he made no mention
of me—for the simple fact that I had nothing to do with them. Compare Schwartz Ex. D
(identifying me as the source of my quick notes) with Schwartz Ex. E (sending citations without
any mention of me).

        Nonetheless, Mr. Schwartz came to “believe” that the citations came from me (Schwartz
Decl. ¶ 9) and that I had also reviewed each successive draft of his motion. Id. ¶ 8. Those beliefs
are incorrect and I believe, far-fetched, as I had no involvement in any back-and-forth—not
directly with Mr. Schwartz or his paralegal and not even indirectly through Mr. Cohen; but I am
not aware of any reason to doubt the sincerity with which Mr. Schwartz held these erroneous


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  Notwithstanding Mr. Schwartz’s apparent mistaken assumptions, there is no actual dispute about
the fact that I (and my firm) had no part in finding or sending the citations, or in Mr. Schwartz’s
decision to include (and not verify) the citations of non-existent cases. Schwartz Decl. ¶¶ 8–9.

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assumptions. Regardless, the substance of the misassumptions ultimately seems of little
consequence. In the end, Mr. Schwartz admitted that he had a duty to check the citations before
filing them under his name regardless of where they came from or if anyone else (counterfactually)
had been involved. He did not, which he candidly concedes was a mistake. Schwartz Decl. ¶¶ 21–
22.

        Also unbeknownst to Mr. Cohen, this is not the first instance in which Mr. Schwartz has
been less than meticulous about the accuracy of his citations. In his May 2023 letter to the Court—
long before he could have believed that I had any background involvement—Mr. Schwartz
(somewhat oddly) offered characterizations about the Seventh Circuit’s approach to terminating
supervised release claiming his account was “per a published opinion of the 7th circuit dealing
with supervised release.” ECF No. 84 at 2. In reality, Mr. Schwartz simply cited a blogpost—not
a “published opinion” at all—which itself is thinly sourced and appears to overstate the rigidity of
Seventh Circuit law. For example, the motion and blogpost both claim that “five purposes of
supervision” are used to indicate satisfactory completion of supervised release’s “decompression
stage” but the undersigned has been unable to locate a discrete case substantiating that rigid
framework in which the five purposes become “factors that mark [the completion of] this
decompression state and satisfy that requirement [of completing a decompression state post-
prison].” Id. (citing PCR Consultants, “Federal Supervised Release is not Punishment,” https://pcr-
consultants.com/federal-supervised-release-is-not-punishment/).

        Further, even a quick read of the non-existent cases at issue here should have raised an
eyebrow. For example, one of the citations purported to have a 2021 docket number, yet also
purported to describe a matter in which a defendant had served a 120-month sentence before being
placed on supervised release, the early termination of which had purportedly been affirmed by the
Second Circuit—a chronological impossibility on its face. 5 Had Mr. Schwartz skimmed that
citation before submitting it to the Court, he might have noticed something awry.

        All of this is not to imply bad faith on Mr. Schwartz’s part—of which there is no
indication—but simply to note that Mr. Schwartz appears to have a history in this matter of
inattentiveness to detail that cannot be attributed to reliance upon another attorney, and should not
be imputed in any way to his client.

    II.    Privileged Information Revealed in Mr. Schwartz’s Submission

        Mr. Schwartz’s submission reveals a limited amount of privileged information, including
screenshots of certain correspondence, quotes from said correspondence, and other statements that
implicitly reveal the content of Mr. Schwartz’s communications with Mr. Cohen.

       Despite the general prohibition on an attorney disclosing his client’s privileged—and
therefore confidential—information, New York Rule of Professional Conduct 1.6(b)(5)’s “right to


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  Because criminal case numbers generally include the year in which the defendant was indicted,
this citation suggests that the defendant was indicted in 2021, served a 120-month prison sentence
before being placed on supervised release, had the supervised release terminated—and had that
termination affirmed on appeal—all in the span of, at most, two years.


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a defense” exception arguably permits the limited disclosures Mr. Schwartz made in his
submission. However, the suggestion by Mr. Schwartz’s counsel that Rule 3.3(b)—the remedying
fraud exception—somehow applies here is severely misguided.

   A. Rule 1.6(b)(5) Arguably Permits Mr. Schwartz’s Disclosures

       The only plausibly-applicable exception to Rule 1.6’s confidentiality requirement is Rule
1.6(b)(5), which allows an attorney to disclose confidential information he “reasonably believes is
necessary to establish a defense.” Comment (10) of Rules of Professional Conduct (22 NYCRR
1200.0) Rule 1.6(b)(5).

       Of course, even revealing confidential information could not give Mr. Schwartz a complete
defense. After all, there is nothing Mr. Cohen could have said that would have changed (i) what
Mr. Schwartz did (i.e., filing a motion with invalid citations), or (ii) Mr. Schwartz’s ethical duty
to avoid doing what he did.

        However, Mr. Schwartz’s submission does outline a subjective mitigation theory based, in
part, on the confidential information he disclosed. In essence, Mr. Schwartz argues that he made a
series of misassumptions—based on misinterpretations of a few communications with
Mr. Cohen—that show his mistake was the result of sloppiness, not bad faith or malicious intent.
See, e.g., Schwartz Decl. ¶¶ 9, 20. It is hard to say whether the confidential information disclosed
is “necessary” to establish that mitigation theory, but Mr. Cohen does not wish to question the
reasonableness of Mr. Schwartz’s belief that it was. A reasonable belief in the necessity of the
disclosure is sufficient for the disclosure to be permitted—actual necessity is not required.
Comment (10) of Rules of Professional Conduct (22 NYCRR 1200.0) Rule 1.6(b)(5).

       Further, given the Court’s specific question to Mr. Schwartz about “what role, if any,
Mr. Cohen played in drafting or reviewing the [November 29] motion before it was filed,” (ECF
No. 96 at 2), Mr. Cohen has no quarrel with the narrow disclosures Mr. Schwartz made in his
submission, which he properly submitted under seal in any event.

   B. Rule 3.3(b) Does Not Permit Mr. Schwartz’s Disclosures

       Mr. Schwartz’s counsel imply that Rule 3.3(b)—which authorizes disclosures of
confidential information to the extent necessary to remedy criminal or fraudulent conduct related
to a given proceeding—somehow permits the disclosures in Mr. Schwartz’s submission. That
theory makes no sense, for two reasons.

        First, the potential fraud at issue—Mr. Schwartz’s submission of non-existent cases—was
fully remedied on December 8, 2023, when I alerted the Court to the invalid citations and instead
cited real cases for the very same legal proposition. ECF No. 95 at 3 n.6. By the time Mr. Schwartz
provided his submission on December 15, there were no remedial steps to take, so Rule 3.3(b)
does not justify any disclosures.

       Second, the confidential information revealed has nothing to do with remedying the
potential “fraud on the court” Mr. Schwartz could have perpetrated. The only conduct that may



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have “compromise[d] the integrity of the judicial process” (Kamins & Leventhal Decl. ¶ 7) was
Mr. Schwartz’s signing and filing of the motion, through which he made certain representations to
the Court about the legitimacy of the motion’s content. Those representations—which were not
correct with respect to the three citations at issue—had nothing to do with Mr. Cohen and, by
extension, Mr. Cohen’s confidential information is entirely irrelevant to the potential “fraud”
Mr. Schwartz inadvertently could have perpetrated, let alone a remedy to said fraud.

       To the extent that the citation to Rule 3.3(b) implies that Mr. Cohen somehow engaged in
fraudulent conduct with respect to the Court, that implication would be baseless and meritless as
Mr. Cohen did not make any representations to the Court—only Mr. Schwartz did.

    III.   Unsealing the Submissions

       As noted, Mr. Cohen does not oppose Mr. Schwartz’s December 15 submission and this
response (collectively the “Submissions”) both being unsealed and filed on the public docket.

        However, given the significant public interest surrounding this matter—and the threats of
violence and other harassment consistently leveled against Mr. Cohen online—we respectfully
request that the contact information in Mr. Cohen’s Exhibits 1 and 2 and Mr. Schwartz’s Exhibit
E be redacted. Specific redactions to Exhibits 1 and 2 were already incorporated and we propose
redactions to Schwartz Exhibit E in the attached Exhibit 3 to this submission.

        As relevant here, sealing and redaction requests are evaluated by balancing the presumptive
right of public access to judicial documents with other, competing considerations, “including the
danger of impairing law enforcement or judicial efficiency and the privacy interests of those
resisting disclosure.” U.S. v. Avenatti, 550 F. Supp. 3d 36, 45 (S.D.N.Y. 2021) (Furman, J.). 6
“‘Higher values’ [than the public’s right of access], the preservation of which might warrant
sealing [or redaction] include personal privacy interests, public safety, or preservation of attorney-
client privilege.” Robinson v. De Niro, 19-CV-9156-LJL-KHP, 2022 WL 2712827, at *1
(S.D.N.Y. July 13, 2022).


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  More specifically, “the Second Circuit has established a three-part test for determining whether
documents may be placed under seal” or, in this case, redacted. U.S. v. Avenatti, 550 F. Supp. 3d
36, 45 (S.D.N.Y. 2021) (Furman, J.); Doe v. U.S. Immigration & Customs Enf’t, 19-CV-8892,
2021 WL 3862708, at *2 (S.D.N.Y. Aug. 30, 2021) (“Plaintiffs’ request to redact these documents
is subject to the three-part test set forth by the Second Circuit in Lugosch v. Pyramid Co. of
Onondaga, 435 F.3d 110, 119–20 (2d Cir. 2006).”). Steps one and two require the Court to
determine whether the documents at issue are “judicial documents” and, if so, how much weight
to give to the presumption of public access to judicial documents given the relevance of the specific
content to be redacted. Although the Submissions are “judicial documents” because they are
“relevant to the exercise of judicial power,” they are submitted for purposes “ancillary to the
court’s core role in adjudicating a case” and therefore are subject to a lower presumption of public
access than evidence introduced at trial or in connection with dispositive motions. Brown v.
Maxwell, 929 F.3d 41, 50 (2d Cir. 2019). Additionally, the specific contact information Mr. Cohen
seeks to redact is entirely irrelevant to the Court’s analysis, further lessening the presumption of
public access.

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        The personal contact information Mr. Cohen seeks to redact is both central to his privacy
and revealed only in privileged emails. Furthermore, the sensitive confidential information is at
risk of being widely disseminated only because Mr. Cohen’s attorney submitted privileged emails
containing it, prompting Mr. Cohen to submit two other privileged emails to contextualize Mr.
Schwartz’s disclosure.

        Given the importance of keeping the contact information confidential for maintaining both
Mr. Cohen’s privacy and safety and the complete irrelevance of that contact information to any of
the Court’s analysis, the competing considerations the Second Circuit has identified strongly
support redacting the personal contact information in Mr. Cohen’s Exhibits 1 and 2 and Mr.
Schwartz’s Exhibit E. See, e.g., New York v. Mayorkas, 20-CV-1127 (JMF), 2021 WL 2850631,
at *12 (S.D.N.Y. July 8, 2021) (noting order allowing party to redact “email addresses, telephone
numbers, and other contact information”).

      IV.      Conclusion

        Mr. Schwartz made what is no doubt an embarrassing but clearly an inadvertent and
ultimately (we submit) inconsequential mistake that was caught and—by providing real citations
standing for the same proposition the invalid citations aimed to substantiate—fixed before it could
mislead the Court. Mr. Cohen engaged in no misconduct and should not suffer any collateral
damage from Mr. Schwartz’s misstep. Indeed, he remains grateful to Mr. Schwartz, his longtime
friend, and respectfully asks that the Court exercise its mercy and discretion with respect to Mr.
Schwartz. Cohen Decl. ¶ 24.

        We further respectfully request that Mr. Schwartz’s mistake in filing a motion with invalid
citations not be held against Mr. Cohen, and that, for the reasons detailed in our reply letter (ECF
No. 95), Mr. Cohen’s supervised release be terminated at this time.


Dated: December 28, 2023                         Respectfully submitted,


                                                 E. Danya Perry
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                                                 Attorney for Defendant Michael D. Cohen

Enclosed: Michael Cohen Declaration and Exhibits 1 – 3

cc:         Counsel for David M. Schwartz



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EXHIBIT 1
From:            Danya Perry
To:
Subject:         Early Termination of Release of Term - 05-30-23 (DRAFT)
Date:            Sunday, November 12, 2023 1:54:56 PM
Attachments:     Early Termination of Release of Term - 05-30-23 (DRAFT).docx


I just made a few rather obvious observations – your lawyer (or you) need to freshen it up. Hope this
helps
EXHIBIT 2
EXHIBIT 3
